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  1   COLIN REARDON (NY Bar #4945655)
      E-mail: colin.reardon@cfpb.gov
  2   Phone: (202) 435-9668
      E. VANESSA ASSAE-BILLE (NY Bar #5165501)
  3   E-mail: elisabeth.assae-bille@cfpb.gov
      Phone: (202) 435-7688
  4   1700 G Street, NW
      Washington, D.C. 20552
  5   Fax: (202) 435-5471
  6   LEANNE E. HARTMANN (CA Bar #264787) – Local Counsel
      E-mail: leanne.hartmann@cfpb.gov
  7   Phone: (415) 844-9787
      301 Howard St., Suite 1200
  8   San Francisco, CA 94105
      Fax: (415) 844-9788
  9
      Attorneys for Plaintiff Bureau of Consumer Financial Protection
10
11                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
12
13    Bureau of Consumer Financial Protection, )
                                               ) Case No.: 8-20-cv-00043-JVS-ADS
14                     Plaintiff,              )
                                               ) DECLARATION OF SERVICE ON
15                vs.                          ) FRANK ANTHONY SEBREROS
                                               )
16    Chou Team Realty, LLC et al.,            )
                                               )
17                     Defendants.             )
                                               )
18                                             )
19
20    I, E. Vanessa Assae-Bille, pursuant to 28 U.S.C. § 1746, declare as follows:
21          1.     I am a Senior Litigation Counsel for Plaintiff Bureau of Consumer
22    Financial Protection (“Bureau”) and a counsel in this action. My business
23    address is 1700 G Street, NW, Washington, D.C. 20552.
24          2.     The facts set forth in this declaration are based on my personal
25    knowledge and, if called as a witness, I could and would testify competently to
26    the statements contained in this declaration.
27
28
                            DECLARATION OF SERVICE ON FRANK ANTHONY SEBREROS
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  1         3.     The Bureau filed its Complaint in this action on January 9, 2020.
  2   The Complaint includes claims against several defendants, including Frank
  3   Anthony Sebreros (“Sebreros”).
  4         4.     On January 15, 2020, the Clerk of Court issued a summons to
  5   Sebreros. (ECF No. 13-11.)
  6         5.     On May 4, 2020, the Court granted the Bureau’s first motion for an
  7   extension of time to serve Sebreros. (ECF No. 81.)
  8         6.     On May 8, 2020, the Bureau moved for leave to serve Sebreros by
  9   alternative means and for a second extension of time to serve him. (ECF No.
10    86.) Specifically, the Bureau sought permission to serve Sebreros via email to
11    the email address fsebreros@gmail.com and to serve him by June 7, 2020.
12          7.     On June 3, 2020, the Court issued an order granting the Bureau’s
13    motion to serve Sebreros by alternative means and for a second extension of
14    time to serve him (“Order”). (ECF No. 98.)
15          8.     On June 4, 2020, I sent an email to fsebreros@gmail.com notifying
16    Sebreros of this action and attaching copies of the Complaint, the summons to
17    Sebreros, and the Order. Attached as Exhibit A to this declaration is a true and
18    correct copy of my June 4, 2020 email and its attachments.
19
20    I declare under penalty of perjury that the foregoing is true and correct.
21
22    Executed on: June 8, 2020
23                                               /s/ E. Vanessa Assae-Bille
                                                 E. Vanessa Assae-Bille (pro hac vice)
24
                                                 Bureau of Consumer Financial Protection
25                                               1700 G Street, NW
                                                 Washington, D.C. 20552
26
                                                 Attorney for Plaintiff Bureau of
27                                               Consumer Financial Protection
28
                            DECLARATION OF SERVICE ON FRANK ANTHONY SEBREROS
                                                   2
